          CASE 0:18-cv-01776-JRT-JFD Doc. 1513 Filed 09/27/22 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


IN RE PORK ANTITRUST                              Case No. 0:18-cv-1776 (JRT/JFD)
LITIGATION
                                                  MOTION FOR PRELIMINARY
                                                  APPROVAL OF THE CLASS
                                                  ACTION SETTLEMENT
                                                  BETWEEN CONSUMER INDIRECT
                                                  PURCHASER PLAINTIFFS AND
This Document Relates to:                         DEFENDANT SMITHFIELD
                                                  FOODS, INC. AND TO DIRECT
                                                  NOTICE TO THE SETTLEMENT
All Consumer Indirect Purchaser Actions           CLASS




         Consumer Indirect Purchaser Plaintiffs respectfully move the Court, the Honorable

John R. Tunheim, District Judge, 1) for Preliminary Approval of the Class Action

Settlement between Consumer Indirect Purchaser Plaintiffs and Defendant Smithfield

Foods, Inc., and 2) to Direct Notice to the Settlement Class. This motion is based on

Federal Rule of Civil Procedure 23, the concurrently filed Memorandum of Points and

Authorities and supporting declaration(s), and any other evidence and arguments

presented in the briefings and at any hearing on this motion to be set by the Court.




                                            -1-
010736-11/1456383 V1
          CASE 0:18-cv-01776-JRT-JFD Doc. 1513 Filed 09/27/22 Page 2 of 3




DATED: September 27, 2022             HAGENS BERMAN SOBOL SHAPIRO LLP

                                      By:    /s/ Shana E. Scarlett
                                             SHANA E. SCARLETT

                                      Rio Pierce
                                      715 Hearst Avenue, Suite 202
                                      Berkeley, California 94710
                                      Telephone: (510) 725-3000
                                      Facsimile: (510) 725-3001
                                      shanas@hbsslaw.com
                                      riop@hbsslaw.om

                                      Steve W. Berman
                                      Breanna Van Engelen
                                      HAGENS BERMAN SOBOL SHAPIRO LLP
                                      1301 Second Avenue, Suite 2000
                                      Seattle, Washington 98101
                                      Telephone: (206) 623-7292
                                      Facsimile: (206) 623-0594
                                      steve@hbsslaw.com
                                      breannav@hbsslaw.com

                                      Elaine T. Byszewski
                                      HAGENS BERMAN SOBOL SHAPIRO LLP
                                      301 N. Lake Ave., Suite 920
                                      Pasadena, CA 91101
                                      Telephone: (213) 330-7150
                                      elaine@hbsslaw.com

                                      Daniel E. Gustafson (#202241)
                                      Daniel C. Hedlund (#258337)
                                      Michelle J. Looby (#388166)
                                      Joshua J. Rissman (#391500)
                                      GUSTAFSON GLUEK PLLC
                                      120 South 6th Street, Suite 2600
                                      Minneapolis, MN 55402
                                      Telephone: (612) 333-8844
                                      Facsimile: (612) 339-6622
                                      dgustafson@gustafsongluek.com
                                      dhedlund@gustafsongluek.com
                                      mlooby@gustafsongluek.com
                                      jrissman@gustafsongluek.com


                                       -2-
010736-11/1456383 V1
          CASE 0:18-cv-01776-JRT-JFD Doc. 1513 Filed 09/27/22 Page 3 of 3




                                      Counsel for Consumer Indirect Purchaser
                                      Plaintiffs




                                       -3-
010736-11/1456383 V1
